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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
-----------------------------------X
JON BORGESE,                       :                    1/12/2021
Individually and as Guardian of    :
LB., and on Behalf of All Others   :
Similarly Situated,                :
                                   :     20 Civ. 1180 (VM)
                    Plaintiffs,    :
          - against -              :         ORDER
                                   :
BABY BREZZA ENTERPRISES LLC; THE   :
BETESH GROUP; and THE BETESH GROUP :
HOLDING CORPORATION, INC.,         :
                                   :
                    Defendants.    :
-----------------------------------X
VICTOR MARRERO, United States District Judge.
     The Complaint in this putative class action was filed on
February 12, 2020. (“Complaint,” Dkt. No. 2.) Pursuant to the
Court’s Individual Rules of Practice, counsel for Defendants
submitted a pre-motion letter to dismiss the Complaint via
e-mail to chambers on April 23, 2020. Plaintiff submitted a
responsive letter via e-mail to chambers on April 30, 2020.
     Since   then,   the   parties    have   filed   several    joint
stipulations extending the time to answer or otherwise reply
to the Complaint. (See, e.g., Dkt. Nos. 8, 10, 12, 14, 16,
18, 20.)
     By this Order, the Court confirms that Rule II(B) of the
Courts Individual Rules of Practice tolls the deadline to
answer or otherwise respond to the Complaint upon submission
of pre-motion letters.


SO ORDERED.
Dated:    New York, New York
          12 JANUARY 2021
                                     _________________________
                                           VICTOR MARRERO
                                               U.S.D.J.
